Sheet 1 - Judgment in a Criminal Case with Supervised Release (Rev. 12/2019) Judgment Page | of 8

United States District Court’ >

 

District of Maryland
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE 7
(For Offenses Committed on or After November 1, 1987)
V.
Case Number: TDC-8-19-CR-00200-001
ERIC EOIN MARQUES
Defendant’s Attorney: Brendan A. Hurson and
Maggie Grace
Assistant U.S. Attorney: Thomas M. Sullivan and
Ralph Paradiso
THE DEFENDANT:
& pleaded guilty to count(s) 1 of the Indictment.
O pleaded nolo contendere to count(s) , which was accepted by the court.
11 was found guilty on count(s) after a plea of not guilty.
Date Count
Title & Section Nature of Offense Offense Concluded Number(s)
18 U.S.C. § 2251(d)(1)(A), Conspiracy to Advertise Child July 29, 2013 1
(e) Pornography

The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2 through 7
of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as modified by United
States v. Booker, 543 U.S. 220 (2005).

1 The defendant has been found not guilty on count(s)
& Counts 2, 3 and 4 are dismissed on the motion of the United States.

 

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

September 15, 2021
Date of Imposition of Judgment

    

September 15, 2021
Theodore D. Chu Date

United States Di

Name of Court Reporter: Patricia Klepp
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DEFENDANT: Eric Eoin Marques CASE NUMBER: TDC-8-19-CR-00200-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 324 months as to Count 1.

 

The court makes the following recommendations to the Bureau of Prisons:

That the defendant receive credit for time served in Irish custody or federal custody from July 29, 2013 to
July 30, 2013 and from August 1, 2013 to the present.

That the defendant be designated to the FCI at Petersburg, Virginia, or in the alternative, the FCI at Butner,
North Carolina for service of his sentence.

That the defendant be permitted to enroll in the Sex Offender Management Program.

The defendant is remanded to the custody of the United States Marshal.
L] The defendant shall surrender to the United States Marshal for this district:

LJ at a.m./p.m. on ;
L] as notified by the United States Marshal.

_] The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

L] before 2:00 p.m. on

 

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.C. §3146. If convicted of an offense while on release,
the defendant shall be subject to the penalties set forth in 18 U.S.C. §3147. For violation of a condition of
release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. §3148. Any bond or
property posted may be forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

RETURN
| have executed this judgment as follows:

Defendant delivered on to at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

By:
DEPUTY U.S. MARSHAL

 
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DEFENDANT: Eric Eoin Marques CASE NUMBER: TDC-8-19-CR-00200-00 1

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of lifetime.

The defendant shall comply with all of the following conditions:

The defendant shall report to the probation office in the district to which the defendant is released within 72

hours of release from the custody of the Bureau of Prisons.

4)

5)
6)

7)

A. MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

(] The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
abuse. (check if applicable)

LC) You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer.

XX] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

(J You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page

B. STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I)

2)
3)

Ay
5)

6)

7)

8)

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
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9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13) You must follow the instructions of the probation officer related to the conditions of supervision.

C. SUPERVISED RELEASE
ADDITIONAL CONDITIONS

DEPARTURE FROM THE UNITED STATES

The defendant shall be permitted to depart the United States to reside in Ireland immediately upon the completion of any term of
imprisonment, provided that the defendant will not be permitted to depart the United States until the defendant has notified the Irish
National Police of his conviction, his sentence, and his plan to return to Ireland, and the Bureau of Prisons and/or the United States
Probation Office has received written or email confirmation from the Irish National Police that it received such notice. The defendant
must adhere to all requirements governing the registration of sex offenders in Ireland including registration with Irish authorities and
any required monitoring. If the defendant departs the United States, the term of supervision shall be a non-reporting term of supervised
release.

] REPORTING UPON RETURN TO THE UNITED STATES
If the defendant re-enters the United Sates during the term of supervised release, the defendant shall report in person within 72 hours to
the nearest U.S. Probation Office.

XX] COMPUTER SEARCH
You must submit your computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications or data storage devices or
media, to a search.

NO INTERNET ACCESS WITHOUT PERMISSION
You must not access the Internet except for reasons approved in advance by the probation officer.

XX] COMPUTER MONITORING SOFTWARE
You must allow the probation officer to install computer monitoring software on any computer (as defined in 18 U.S.C. § 1030(e)(1))
you use.

X] COMPUTER SEARCH FOR MONITORING SOFTWARE

To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct initial and periodic
unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring. These searches shall be
conducted for the purposes of determining whether the computer contains any prohibited data prior to installation of the monitoring
software; to determine whether the monitoring software is functioning effectively after its installation; and to determine whether there
have been attempts to circumvent the monitoring software after its installation. You must warn any other people who use these computers
that the computers may be subject to searches pursuant to this condition.

COMPUTER SEARCH WARNING TO OTHERS

You must warn any other people who use these computers or devices capable of accessing the Internet that the devices may be subject
to searches pursuant to this condition. A probation officer may conduct a search pursuant to this condition only when reasonable
suspicion exists that there is a violation of a condition of supervision and that the computer or device contains evidence of this violation.
Any search will be conducted at a reasonable time and in a reasonable manner.
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C. ADDITIONAL SUPERVISED RELEASE CONDITIONS

] FINANCIAL DISCLOSURE
You must provide the probation officer with access to any requested financial information and authorize the release of any financial
information. The probation office may share financial information with the U.S. Attorney’s Office.

] NO POST OFFICE BOX OR STORAGE FACILITY

You shall not rent or use a post office box or storage facility without prior approval from the U.S. Probation Officer. If approved, any
changes must be reported 72 hours in advance. You shall permit the probation officer to conduct random inspections of any approved
storage facility.

x] NO CONTACT WITH MINORS

You must not have direct contact with any child you know or reasonably should know to be under the age of 18, not including your own
children, without the permission of the probation officer. If you do have any direct contact with any child you know or reasonably should
know to be under the age of 18, not including your own children, without the permission of the probation officer, you must report this
contact to the probation officer within 24 hours. Direct contact includes written communication, in-person communication, or physical
contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

XX} PLACE RESTRICTION UNDER 18 PRESENT
You must not go to, or remain at, any place where you know children under the age of 18 are likely to be, including parks, schools,
playgrounds, and childcare facilities.

PLACE RESTRICTION OBSERVATION
You must not go to, or remain at, a place for the primary purpose of observing or contacting children under the age of 18.

XX] NO POSSESSION OF PORNOGRAPHIC MATERIALS

You must not view or possess any visual depiction (as defined in 18 U.S.C. § 2256), including any photograph, film, video, picture, or
computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or other means, of sexually
explicit conduct (as defined in 18 U.S.C. § 2256).

& You must not view or possess any visual depiction (as defined in 18 U.S.C. § 2256) including any photograph, film, video, picture,
or computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or other means, of sexually
explicit conduct (as defined in 18 U.S.C. § 2256), that would compromise your sex offense-specific treatment.

] SEX OFFENDER ASSESSMENT
You must participate in a sex offense-specific assessment.

SEX OFFENDER TREATMENT
You must participate in a sex offense-specific treatment program and follow the rules and regulations of that program. The probation
officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).

] POLYGRAPH EXAMINATION
You must submit to periodic polygraph testing at the discretion of the probation officer as a means to ensure that you are in compliance
with the requirements of your supervision or treatment program.

X) MENTAL HEALTH TREATMENT

You must participate in a mental health treatment program and follow the rules and regulations of that program. The probation officer,
in consultation with the treatment provider, will supervise your participation in the program (provider, location, modality, duration,
intensity, etc.).

SEX OFFENDER REGISTRATION
You must comply with sex offender registration as directed by the Sex Offender Registration and Notification Act.
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C. ADDITIONAL SUPERVISED RELEASE CONDITIONS

XX] RESTITUTION — MONEY
You must pay outstanding monetary restitution imposed by the Court at a rate of $100 per month beginning 30 days upon release.

SPECIAL ASSESSMENT
You must pay the special assessment of $100.

U.S. Probation Office Use Only
AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment containing
these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions, available at:

Defendant's Signature Date

 
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet SB.

 

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $100.00 $87,000.00 N/A Waived Waived

(] CVB Processing Fee $30.00

 

 

 

 

 

 

 

 

 

L] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)
will be entered after such determination.

The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Clerk, US District Court $87,000.00 $87,000.00

6500 Cherrywood Lane
Greenbelt, MD 20770
For disbursment to victim(s)

TOTALS $ $87,000.00 $ $87,000.00

CL] Restitution amount ordered pursuant to plea agreement

(]_ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
CL] the interest requirement is waived forthe [J fine 1 restitution

(] the interest requirement forthe J fine © _ restitution is modified as follows:

 

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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SCHEDULE OF PAYMENTS

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A [& $100 Special Assessment to be paid in full immediately.

B O $ immediately, balance due (in accordance with C, D, or E); or
C Not later than > or
D (1 Installments to commence day(s) after the date of this judgment.

E & Pay outstanding monetary restitution imposed by the Court at a rate of $100 per month beginning 30 days upon release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties
shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Bureau of

Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

NO RESTITUTION OR OTHER FINANCIAL PENALTY SHALL BE COLLECTED THROUGH THE INMATE
FINANCIAL RESPONSIBILITY PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

C1 in equal monthly installments during the term of supervision; or

CL] onanominal payment schedule of $ per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant’s financial
circumstances.

Special instructions regarding the payment of criminal monetary penalties:
C1 Joint and Several

Case Number

Defendant and Co-Defendant

Names (including defendant Joint and Several Corresponding Payee,
number) Total Amount Amount if appropriate

(| The defendant shall pay the cost of prosecution.
(] The defendant shall pay the following court cost(s):
| The defendant shall forfeit the defendant’s interest in the following property to the United States:

See attached Order of Forfeiture. The Court recommends that $87,000 of the forfeited funds be applied to restitution.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
